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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    JOHN DOE,                                      §
                                                   §
           Plaintiff                               §
                                                   §
    vs.                                            §               Civil Action No. 4:19-cv-00658
                                                   §
    WILLIAM MARSH RICE UNIVE RSITY                 §
    d/b/a RICE UNIVERSITY,                         §
    EMILY GARZA, as agent for Rice                 §
    Rice University, and DONALD OSTDIEK,           §
    as agent for Rice University,                  §
                                                   §
           Defendants.                             §


                ORDE R    ON   MOT I ONT O PROCEE D UNDER PSEUDONYM,
                                AND FOR PROTECT IVE ORDER



           The matter before the Court is Plaintiff’s motion for leave to proceed in the above-

    captioned matter under the pseudonym “John Doe.” Upon review of the Original Complaint and

    Plaintiff’s Motion, the Court finds that the circumstances of this case are such that requiring

    Plaintiff to proceed under his legal name would disclose information of the utmost personal

.   intimacy, including education records protected from disclosure by the Family Educational

    Rights and Privacy Act, 20 U.S.C. § 1232g; 34 CFR Part 99.

           THEREFORE, IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to

    Proceed Under a Pseudonym (Dkt. #2) is GRANTED.

          SIGNED this 23rd day of January, 2020.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
